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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CV-81205-RAR

  SECURITIES AND EXCHANGE
  COMMISSION,

          Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS
  GROUP, INC. d/b/a PAR FUNDING, et al.,

        Defendants.
  _______________________________/

       ORDER GRANTING RECEIVER’S FOURTH APPLICATION FOR ALLOWANCE
         AND PAYMENT OF PROFESSIONALS’ FEES AND REIMBURSEMENT OF
                   EXPENSES FOR APRIL 1, 2021 – JULY 31, 2021

          THIS CAUSE comes before the Court upon Receiver Ryan K. Stumphauzer’s Fourth

  Application for Allowance and Payment of Professionals’ Fees and Reimbursement of Expenses

  for April 1, 2021 – July 31, 2021 [ECF No. 699] (“Application”), filed on August 16, 2021.    The

  Court has reviewed the Application and is otherwise fully advised.

          This is a complex receivership involving the operation of a merchant cash advance business

  with a current receivable balance of over $400 million, and a group of investors that are seeking,

  collectively, more than $300 million dollars from the company.            The Receiver and his

  professional team are managing numerous operational issues involving more than 1,300 merchants

  that are parties to merchant cash advance agreements with Par Funding.       The Application and

  records submitted by the Receiver reflect that the Receiver and his professional team have

  reasonably and diligently discharged their duties.

          The Receiver’s tasks in this case have included negotiating with Par Funding’s merchants

  in an effort to reach settlements of MCA account balances; employing consultants to oversee and
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  manage Par Funding; pursuing various claims against non-parties that may generate additional

  income to the Receivership Estate; assuming responsibilities over various residential and

  commercial properties; responding to issues and document requests related to pending litigation

  and investigations involving the Receivership Entities; communicating with the Defendants and

  responding to discovery requests; and drafting status reports for the Court.

         In performing these tasks, among others, the Receiver and his professional team have

  provided a significant benefit to the Receivership Estate, investors, and creditors at rates that the

  Court finds reasonable.     Accordingly, it is hereby

         ORDERED AND ADJUDGED that the Application [ECF No. 699] is GRANTED as

  follows:

         Professional Fees:       $2,398,898.00

         Expenses:                $87,219.96

         TOTAL:                   $2,486,117.96

         DONE AND ORDERED in Fort Lauderdale, Florida, this 26th day of August, 2021.



                                                          _________________________________
                                                          RODOLFO A. RUIZ II
                                                          UNITED STATES DISTRICT JUDGE




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